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     Federal Defender
2    VICTOR M. CHAVEZ, CA Bar #113752
     Assistant Federal Defender
3    Office of the Federal Defender
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorneys for Defendant-Appellant
6    RAFAEL CARDENAS
7
8                            IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                       Case No. 1:17-cr-00205-DAD-BAM
12                      Plaintiff,                    STIPULATION TO VACATE STATUS
                                                      CONFERENCE AND SET FOR CHANGE
13                                                    OF PLEA; ORDER
14       vs.                                          DATE: February 19, 2019
                                                      TIME: 10:00 a.m.
15    RAFAEL CARDENAS,                                JUDGE: Dale A. Drozd
16
                        Defendant.
17
18             IT IS HEREBY STIPULATED by and between the parties hereto through their
19   respective counsel that the status conference now set for February 11, 2019 before the Honorable
20   Barbara A. McAuliffe may be vacated. The case will be set for change of plea on February 19,
21   2019 before the Honorable Dale A. Drozd.
22
                                                                Respectfully submitted,
23
                                                                MCGREGOR W. SCOTT
24                                                              United States Attorney
25
     Dated: February 7, 2019                            By:    /s/ Ross Pearson
26                                                             ROSS PEARSON
                                                               Assistant United States Attorney
27                                                             Attorney for Plaintiff
28
       Case 1:17-cr-00205-TLN Document 65 Filed 02/07/19 Page 2 of 2


1                                                                               HEATHER E. WILLIAMS
                                                                                Federal Defender
2
3    Dated: February 7, 2019                                              By:   /s/ Victor M. Chavez
                                                                                VICTOR M. CHAVEZ
4                                                                               Assistant Federal Defender
                                                                                Attorney for Defendant
5                                                                               RAFAEL CARDENAS
6
7                                                                  ORDER
8             IT IS HEREBY ORDERED that the status conference currently set for Monday, February
9    11, 2019 before Magistrate Judge Barbara A. McAuliffe is vacated and a change of plea hearing
10   is set for Monday, February 19, 2019 at 10:00 a.m. in courtroom 5 before District Judge Dale A.
11   Drozd.
12
     IT IS SO ORDERED.
13
14       Dated:         February 7, 2019
                                                                         UNITED STATES DISTRICT JUDGE
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      Cardenas - Stipulation to Vacate Status Conference and Set     2
      for Change of Plea
